CaSe: 1212-CI’-OOJ_19-|\/|RB DOC #Z 4 Filed: 11/14/12 Page: l Of l PAGE|D #Z 5

UNITED STA'I`ES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AlVl'ERICA, CASE NO.
V.

1511 Z CR119
INDICTMENT

18 U.S.C. § 2423
ROBERT FRANK POANDL

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ac"~ ;J". ~:' § §
??\C?."‘. " 1-
‘&C,:\f:`-_ § r>, 103
'J;'T ' / r..¢-\ \"
§Q_r"\`, § .;;,'J:Tn
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item '°
The Grand Jury charges that: »»
COU'NT 1

(Transportation of Minors)

On or about August 3, 1991, the defendant, ROBERT FRANK POANDL, knowingly
transported any individual under the age of 18; to wit, DH, a ten year old boy, in interstate
can be charged with a criminal offense.

commerce with the intent that such individual engage in any sexual activity for which any person

In violation of Title 18, United States Code, Section 2423.

A/TRUE BILL

CARTER M. S'I`EWART

GRA]GD JURY FOREPERSON
UNITED STA'I`ES ATTORNEY

ANTHONY SPRINGER
CINCINNATI BRANCH CHIEF

